Case 2:05-cr-20205-.]DB Document 39 Filed 07/26/05 Pagelon Page|D`59

 

IN THE UNITED s'rATEs DISTRICT coUR'r F"-ED BY ... .._._ D.¢.
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WOMASM.GOULD
UNITED sTATEs or-' AMERICA, CLERK.U,S.D!STR?CT{U.BT

W@OFWHHMN$
Plaintiff,

v.

Case No. 2:05-cr-20205-1 Ml

CHRIS NEWTON and CHARLES LOVE,

Dafendants.

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ORDER FOLLOWING TELEPHONE CONFERENCE

 

A telephone conference in this cause was held on July 25,
2005, at 3:00 p.m. The United States was represented at the
conference by Timothy DiScenza, Esq. Defendant Charles Love was
represented by Bryan Hoss, Esq. Defendant Newton was represented
by Hugh Moore, Esq. and Thomas Greenholtz, Esq.

During the conference, the United States agreed to disclose
redacted Title III materials by Friday, July 29, 2005.

Defendants shall make all objections regarding redacted materials
by no later than Friday, August 19, 2005. Said objections are

referred to the United States Magistrate Judge for determination.

So ORDERED this @$E; day of July, 2005.

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

This document entered on the docket s’.,}mzz |n com§lianc=.) ; q

with Hu|e 35 and/or 32(b) FHCrP on

UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:05-CR-20205 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Thomas Greenholtz

SHUMACKER WITT GAITHER & WH[TAKER
1100 Sun Trust Bank Bldg

736 Market St

Chattanooga, TN 37402

Hugh J. Moore

SCHUMAKER WITT GAITHER & WH[TAKER, P.C.
736 Market St.

1100 Suntrust Bank Bldg.

Chattanooga, TN 37402--260

Bryan H. Hoss

DAVIS & HOSS

508 East 5th St
Chattanooga, TN 37403

Honorable J on McCalla
US DISTRICT COURT

